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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION


PATRICK BRAXTON, JAMES BALLARD )
BARBARA PATRICK, JANICE QUARLES )
AND WANDA SCOTT,                )
                                )
     Plaintiffs,                )
                                )
v.                              )
                                                   CASE NO.: 2:23-CV-00127-KD-N
                                )
HAYWOOD STOKES, III, GARY       )
BROUSSARD, JESSE DONALD         )
LEVERETT, WILLIE RICHARD        )
TUCKER, LYN THIEBE AND PEOPLE’S )
BANK OF GREENSBORO              )
                                )
     Defendants.


            UNOPPOSED MOTION FOR EXTENSION OF TIME


      COME NOW, Plaintiffs in the above styled case request a 10-day extension

of time to file their Response to Defendant, Lyn Thiebe’s Motion to Dismiss. In

support of this request, Plaintiffs state the following:

      1.     Plaintiffs’ response to Ms. Thiebe’s Motion to Dismiss is currently due

July 11, 2023.

      2.     Given a commitment that will require counsel to be unavailable all next

week coupled with his prior commitments this past week that required him to be out

of the office presenting witnesses affidavits in a multi-party administrative
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proceeding, counsel for Plaintiffs needs additional time to adequately respond to the

Defendant, Lyn Thiebe’s Motion to Dismiss.

      3.     Counsel for Defendant Thiebe does not oppose the motion.

      4.     Wherefore, Plaintiffs request an extension of time to respond to the

Defendant, Lyn Thiebe’s Motion to Dismiss from July 11, 2023 to July 21, 2023.




                                              Respectfully submitted,

                                              /s/ Richard P. Rouco
                                              Richard P. Rouco

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 3, 2023, I filed a true and correct copy of the
foregoing via the Court’s CM/ECF system, which will notify and serve the
following counsel of record:

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                                               /s/ Richard P. Rouco
                                               Richard P. Rouco




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